70 F.3d 1261
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Andrew Lee HARRIS, Petitioner-Appellant,v.Earl D. BESHEARS;  Attorney General of the State OfMaryland, Respondents-Appellees.
    No. 95-7022.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  October 3, 1995.Decided:  December 5, 1995.
    
      Andrew Lee Harris, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General of Maryland, Baltimore, MD, for Appellees.
      Before WILKINSON, LUTTIG, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Harris v. Beshears, No. CA-95-1734-S (D. Md. June 23, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    